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                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                       Case No. CR-1 7-188-E-DCN
            Plaintiff,
                                       RULE 11 PLEA AGREEMENT
      vs.

DILLON KLAIR MCCANDLESS,

            Defendant




                                                              Re,· Augu.,t 2017 (General)
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 I.      GUILTY PLEA

         A.     Summary of Terms. Pursuant to Federal Rules of Criminal Procedure

 l l(c)(l)(B), the defendant, the attorney for the defendant, and the government 1 agree that the

defendant will plead guilty to Counts One and Two of the Superseding Indictment, which charges

the defendant with Robbery, in violation of 18 U.S.C. §§ 2111 and 1152, and Use of a Fireann in

Furtherance ofa Violent Crime, in violation of 18 U.S.C. § 924(c)(l)(A). The defendant also

agrees to the forfeiture noted below.

         This plea is voluntary and did not result from force, threats, or promises, other than any

promise made in this agreement. Upon acceptance of the defendant's guilty plea(s), and the

defendant's full compliance with the other tenns of this agreement, the government will make the

recommendations noted below.

         8.     Oath. The defendant will be placed under oath at the plea hearing. The

government may use any statement that the defendant makes under oath against the defendant in a

prosecution for perjury or false statement.

II.      WAIVER OF CONSTITUTIONAL RIGHTS AT TRIAL

         The defendant waives the following nghts by pleading guilty pursuant to this agreement:

1) the right to plead not guilty to the offense(s) charged against the defendant and to persist in that

plea; 2) the right to a trial by jury, at which the defendant would be presumed innocent and the

burden would be on the government to prove the defendant's guilt beyond a reasonable doubt; 3)

the right to have the jury agree unanimously that the defendant was guilty of the offense; 4) the

right, at trial, to confront and cross-examine adverse witnesses, 5) the right to present evidence



         1
          The word uGovemment" in this Agreement refers to the United States Attorney for the
District of Idaho.



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 and to compel the attendance of witnesses; and 6) the right not to testify or present evidence

 without having that held against the defendant. If the court accepts the defendant's guilty plea,

 there will be no trial.

 III.    NATURE OF THE CHARGES

         A.      Elements of the Crime. The elements of the crime of Robbery, 18 U.S.C.

 §§ 2111 and 1153, as charged in Count One, are as follows:

                 I.        The defendant took or attempted to take; and

                 2.        From the person or presence of another; and

                 3.        By force and violence, or by intimidation; and

                 4.        Something of value; and

                 5.        While on the Fort Hall Indian Reservation.

        The elements of the crime o f Use of a Fireann in Furtherance of a Violent Crime, 18

U.S.C. § 924(c)(l)(A), are as follows :

                 I.        The defendant committed the elements ofa crime of violence prosecutable

in federal court; and

                 2.        The defendant knowingly used or carried a fireann; and

                 3.        The use or carrying of the firearm was during and in relation to the

defendant's crime of violence.

        B.      Factual Basis. If this matter were to proceed to trial, the government and the

defendant agree that the following facts would be proven beyond a reasonable doubt:

        On July 23, 2017, at approximately 2:25 a.m., a black GMC truck arrived at the Sage Hill

Casino on the Fort Hall Indian Reservation. The truck parked near the front entrance of the

casino and a male individual, later identified as the defendant, stepped out of the truck. He was




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carrying a shotgun and a plastic bag. He went inside the casino, approached the employee, S.C.,

at the teller window, and demanded that the teller place cash in the bag. The defendant pumped

the shotgun, causing an ammunition shell to be ejected onto the floor. The employee placed cash

in the bag and the subject departed the casino in his truck. He went northbound on Highway 91

and then southbound on Interstate 15. The robber's identity was still unknown at this point.

        A review of the video of the robbery showed that the suspect had a unique tattoo on the

back of one of his hands. lnfonnation about the robbery, including the hand tattoo, was released

to the news media and police then began receiving tips about the identity of the robber. A

Bingham County deputy sheriff identified the robber as the defendant as did members of the

defendant's family. The defendant' s family stated that a shotgun from the family home was

missing.

        The defendant was stopped in his pickup on Interstate 15 at about 9:00 p.m. that evening

by police and was taken into custody The defendant's truck contained a shotgun with a sawed-

off barrel and cash with markings consistent with money from the Sage Hill casino. The

defendant was interviewed, waived his rights and admitted robbing the casino. He admitted

taking the shotgun from his home and cutting off the barrel with a saw he purchased.

       The defendant's gun was a Mossberg, Model 835 Ulti-Mag, 12 gauge short-barreled

shotgun, serial number UM5582 l 5, which he used or carried during and in relation to the robbery,

a violation of 18 U.S.C. Sections§§ 2111 and 1152, a crime of violence for which he may be

prosecuted in a court of the United States.

       The defendant took the cash from S.C. by force and violence or by intimidation.




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 IV.    SENTENCING FACTORS

        A.      Penalties. A violation of Robbery, 18 U.S.C §§ 2111 and 1153, as charged in

 Count One, is punishable by:

                1.     a tenn of imprisonment ofup to fifteen (15) years

                2.     a term of supervised release of not more than five (5) years

               3.      a maximum fine of$250,000, and a special assessment of $100.

        A violation of Use ofa Fireann in Furtherance ofa Violent Crime, 18 U.S.C. §

924(c)(l)(A), is punishable by:

                I.     a term of imprisonment of at least seven (7) years up to life, consecutive to

the term of imprisonment on Count One and any other sentence

               2.      a term of supervised release of not more than five (5) years

               3.      a maximum fine of$250,000, and a special assessment of$ I 00.

        B.     Supervised Release. The court may impose a period of supervised release. No

agreement exists as to the length of supervised release.

       The Jaw permits the combined prison time and tenn of supervised release to exceed the

maximum tenn of incarceration for the crime(s) to which the defendant is pleading guilty.

Violation of any condition of supervised release may result in further penalties and/or

prosecution.

       C.      Fines and Costs. The court may impose a fine. No agreement exists as to the

amount of the fine. The court may also order the defendant to pay the costs of imprisonment,

probation, and supervised release.

       D.      Special Assessment. The defendant will pay the special assessment(s) before

sentencing and will furnish a receipt at sentencing. Payment will be made to:




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                The United States District Court, Clerk's Office
                Federal Building and United States Courthouse
                80 I E. Sherman Street, Room 119
                Pocatello, Idaho 8320 I.

        E.      Restitution. In addition to any forfeiture, fine, or costs imposed, the defendant

agrees to pay restitution equal to the loss caused to any victim of the charged offense pursuant to

any applicable statute. The defendant agrees that all monetary penalties imposed by the court,

including restitution, will be due immediately and subject to immediate enforcement by the

government. The defendant agrees that any payment schedule or plan set by the court is merely a

minimum schedule of payments and neither the only method, nor a limitation on the methods,

available to the government to enforce the judgment, unless the court specifically states

otherwise. The defendant is aware that voluntary payment of restitution prior to adjudication of

guilt is a factor in considering whether the defendant has accepted responsibility under the United

States sentencing guidelines ("USSG") §3E I. I.

        F.     Forfeiture. The defendant understands that the court will, upon acceptance of the

defendant's guilty plea(s), enter a forfeiture order as part of the defendant's sentence. The

defendant agrees immediately to forfeit to the government the property set out in the forfeiture

allegation of the indictment:

                I.     Seized Personal Property. A Mossberg, Model 835 Ulti-Mag, 12 gauge

short-barreled shotgun, serial number UM5582 l 5.

       Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the government will seek

forfeiture of substitute assets, or "any other property of the defendant" up to the value of the

defendant's assets subject to forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of the following reasons:

                       a.       the property cannot be located upon the exercise of due diligence;



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                        b.      the property has been transferred, sold to, or deposited with a third
                                person;
                        c.      the property has been placed beyond the jurisdiction of the court;
                        d.      the property has been substantially diminished in value; and/or
                        e.      the property has been commingled with other property that cannot
                                be subdivided without difficulty.

Forfeiture of substitute assets shall not constitute an alteration in the defendant's sentence.

        The defendant agrees that the forfeitures herein are separate from all other penalties,

including monetary ones, and are also separate from restitution. The defendant agrees to consent

to abandonment proceedings as to forfeitable property herein, and to the entry of orders of

forfeiture for such property, including civil administrative forfeiture, civil judicial forfeiture, or

criminal forfeiture. Finally, the defendant agrees to waive the requirements of Federal Rules of

Criminal Procedure 1 l(b)(l)(J), 32.2 and 43(a) regarding: (a) notice of the forfeiture in the

charging instrument, (b) advice regarding the forfeiture at the change-of-plea hearing, (c)

announcement of the forfeiture at sentencing, and ( d) incorporation of the forfeiture in the

judgment. If this agreement is withdrawn for any reason, the defendant waives the right to

contest all civil and administrative forfeitures that began before the withdrawal.

        The defendant agrees to assist fully in the forfeiture of the foregoing assets, and to take all

steps necessary to pass clear title to the forfeited assets to the government. The defendant will

thus, for example, execute all documents necessary to transfer such title, assist in bringing any

assets located outside of the United States within the jurisdiction of the United States, take

whatever steps are necessary to ensure that assets subject to forfeiture are not sold, disbursed,

wasted, hidden or othenvise made unavailable for forfeiture, etc.

       The defendant will not assist any third party in asserting a claim to the forfeited assets in

an ancillary proceeding, related civil forfeiture case, or petition for remission or mitigation of

forfeiture. Further, the defendant will testify truthfully in any such proceeding. The defendant



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 agrees to waive all challenges, on any grounds, to any forfeiture earned out in accordance with

 this agreement.

        The defendant is the sole owner of the properties and property interests listed above,

 except as specifically set out herein. If the defendant is not the sole owner of these properties and

 interests, representations are false or inaccurate, the government may pursue any and all forfeiture

remedies available at law or equity based on lhe violations covered by this agreement.

        The defendant agrees lhat lhe forfeiture provisions of this agreement will survive the

defendant, notwithstanding the abatement of any underlying criminal conviction after the

execution of this Agreement. The forfeitability of any particular property pursuant to this

agreement shall be determined as if defendant had survived, and that determination shall bind the

defendant's heirs, successors and assigns until the agreed forfeiture is collected in full. This

includes any agreed money judgment amount. If the crime(s) involved victims, then the

defendant acknowledges and agrees that this agreement to disgorge the defendant's wrongfully-

obtained criminal proceeds for the benefit of the defendant' s victims is remedial in nature.

Therefore, the defendant intends disgorgement to be completed regardless of any possible future

abatement of defendant' s criminal conviction. The court shall retain jurisdiction to settle any

disputes arising from application of the foregoing forfeiture provisions.

V.      UNITED STATES SENTENCING GUIDELINES

        A.     Application of Sentencing Guidelines. The court must consider the USSG in

detennining an appropriate sentence under 18 U.S.C . § 3553. The defendant agrees that the court

may consider "relevant conduct" in determining a sentence pursuant to USSG § 1B 1.3.

       The court is not a party to this agreement. The agreement does not bind the court's

determination of the USSG range. The court will identify the factors that will determine the




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 sentencing range under the USSG. While the court may take the defendant's cooperation, if any,

 and the recommendations of the parties into account, the court has complete discretion to impose

 any lawful sentence, including the maximum sentence possible.

        Recognizing that the court is not bound by this agreement, the parties agree to the

 recommendations and requests set forth below.

        B.      Sentencing Guidelines Recommendations and Requests.

                1.     Government's Statements at Sentencing. The government reserves the

right to fully allocute at sentencing regarding any sentencing recommendation and to rely on any

information in support of its recommendation regardless of whether the information is contained

in the plea agreement or the presentence report.

               2.      Acceptance of Responsibility. If the defendant clearly accepts

responsibility for the offense, the defendant will be entitled to a reduction of two levels in the

combined adjusted offense level, under USSG § 3E I . I (a). The government will move for an

additional one-level reduction in the combined offense level under§ 3El.l(b) if the following

conditions are met: (l) the defendant qualifies for a decrease under§ 3El.l(a); (2) the offense is

level 16 or greater; and (3) the defendant has timely notified authorities of the defendant's

intention to enter a plea of guilty, thereby permitting the government to avoid preparing for trial

and permitting the court to allocate its resources efficiently. If, before sentence is imposed, the

defendant fails to meet the criteria set out in USSG § 3El.1, or acts in a manner inconsistent with

acceptance of responsibility, the government will withdraw or decline to make such a

recommendation.

               3.      Downward Departure or Variance Request by Defendant. Unless

othenvise specified in this paragraph, the defendant will not seek a downward departure or




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variance under 18 U.S.C. § 3553(a), without first notifying the Government of the defendant's

intent to seek a downward departure and the defendant's reasons and basis therefor, such notice to

be provided not less than 21 days before the date set for sentencing.

                4.      Variance. The government recommends a downward variance of three

months from the estimated 27-month low end of the guideline range on Count One to 24 months,

based on the defendant's mental health issues and his family's efforts to find him treatment.

VI.     WAIVER OF RIGHT TO DIRECT APPEAL AND TO COLLATERAL ATTACK
        UNDER 28 U.S.C. § 2255

        A.      Waiver: In exchange for this agreement, and except as provided in subparagraph

B, the defendant waives any right lo appeal or collaterally attack the entry of plea, the conviction,

the entry ofjudgment, and the sentence, including forfeiture and restitution. The waiver of the

challenge to the conviction includes challenges to the constitutionality of any statute of conviction

and arguments that the admitted conduct does not fall within any statute of conviction.

        The defendant acknowledges that this waiver shall result in the dismissal of any direct

appeal or collateral attack the defendant might file seeking to challenge the plea, conviction or

sentence in this case. Further, the filing of such an appeal or collateral attack will breach this

agreement and will allow the government to withdraw from the agreement and take other

remedial action.

       If the defendant believes the government has not fulfilled its obligations under this

agreement, the defendant will object at the time of sentencing; further objections are waived.

       B.      Exceptions:

               I.      Direct Appeal: Notwithstanding subparagraph A, the defendant shall

retain the right to file one direct appeal if one of the following unusual circumstances occurs:

                       a.      the sentence imposed by the court exceeds the statutory maximum;



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                       b.      the court arrived at an advisory USSG range by applying an
                               upward departure under chapter 5K of the USSG; or

                       c.      the court exercised its discretion under 18 U.S.C. § 3553(a) to
                               impose a sentence that exceeds the advisory USSG range as
                               detennined by the court.

        The defendant understands that the above circumstances occur rarely and that in most

cases this agreement completely waives all appellate rights.

               2.      Motion Under 28 U.S.C. § 2255: Notwithstanding subparagraph A, the

defendant shall retain the right to file a 28 U.S.C. § 2255 motion alleging ineffective assistance of

counsel.

VII.    PROVIDING INFORMATION FOR THE PRESENTENCE REPORT

       The defendant agrees to provide material financial and other infonnation requested by a

representative of the United States probation office for use in preparing a presentence report.

Failure to execute releases and provide information for the presentence report violates this

agreement and relieves the government of its obligations in this agreement. Such failure and

response by the government will not, however, constitute grounds for withdrawing the plea of

guilty unless the government so requests. Providing materially false infonnation will subject the

defendant to additional penalties, including an enhancement under USSG § JC 1.1.

VIII. DISCLOSING FINANCIAL INFORMATION

       The defendant agrees to disclose all of the defendant's assets and sources of income to the

government, including all assets over which the defendant exercises or exercised direct or indirect

control, or in which the defendant has had any financial interest. The defendant also agrees to

cooperate in obtaining any records relating to ownership of assets when sought by the

government. The defendant agrees truthfully to complete a personal financial statement within

fourteen days from the date the defendant signs this agreement. If the govenunent provides a



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financial statement to be completed, the defendant agrees to complete the financial statement

truthfully and accurately within fourteen days from the date the defendant signs this agreement or

the date the financial statement is provided to the defendant or counsel, whichever is later. The

defendant agrees to provide updates with any material changes in circumstances, as described in

18 U.S.C. § 3664(k) within seven days of the event giving rise to the changed circumstances. The

failure timely and accurately to complete, sign, and update the financial statements as required

herein, may constitute failure to accept responsibility under USSG § 3EI. I , as well as other

things.

          The defendant authorizes the government: (a) to obtain a credit report on the defendant;

(b) to inspect and copy all financial documents and infonnation held by the United States

probation office; and (c) to obtain financial records related to the defendant.

          Before sentencing, defendant agrees not to dissipate any assets without the consent of both

the government's financial litigation unit and the asset forfeiture unit. If any assets are sold, any

sale proceeds received from sale of assets will be deposited with the clerk and, upon sentencing,

paid toward any monetary penalties due as ordered in the judgment.

IX.       NO RIGHT TO WITHDRAW PLEA

          The defendant understands that the court may not follow the recommendations or requests

made by the parties at the time of sentencing. The defendant cannot withdraw from this

agreement or the guilty plea, regardless of the court's actions.

X.        CONSEQUENCES OF VIOLATING AGREEMENT

          A.     Government's Options. If the defendant fails to keep any promise in this

agreement or commits a new crime, the government is relieved of any obligation: I) to make a

sentencing recommendation consistent with the tenns promised in this agreement; and 2) not to




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prosecute the defendant on other charges, including charges not pursued due to this agreement.

Such charges may be brought without prior notice. In addition, if the government determines

after sentence is imposed that the defendant's breach of the agreement warrants further

prosecution, the government may choose between letting the conviction(s) under this agreement

stand or vacating such conviction(s) so that such charge(s) may be re-prosecuted. If the

government determines that a breach warrants prosecution before sentencing, it may withdraw

from the agreement in its entirety.

        The government's election to pursue any of the above options cannot be a basis for the

defendant to withdraw the guilty plea(s) made pursuant to this agreement.

        B.     Defendant's Waiver of Rights. If the defendant fails to keep any promise made

in this agreement, the defendant gives up the right not to be placed twice in jeopardy for the

offense(s) to which the defendant entered a plea of guilty or which were dismissed under this

agreement:. In addition, for any charge that is brought as a result of the defendant's failure to keep

this agreement, the defendant gives up: ( 1) any right under the Constitution and laws of the

United States to be charged or tried in a more speedy manner; and (2) the right to be charged

within the applicable statute of limitations period if the statute of limitations has expired.

       Furthermore, if the defendant does not enter an acceptable pica, the government will move

to continue the trial now set to allow the government adequate time lo prepare. The defendant

agrees not to contest such a continuance, and agrees that the resulting delay would be excludable

time under 18 U.S.C. § 3161{h).

XI.    MISCELLANEOUS

       A.      No Other Terms. This agreement is the complete understanding between the

parties, and no other promises have been made by the government to the defendant or to the




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 attorney for the defendant. This agreement does not prevent any governmental agency from

 pursuing civil or administrative actions against the defendant or any property. Unless an

 exception to this paragraph is explicitly set forth elsewhere in this document, this agreement does

 not bind or obligate governmental entities other than that specified as the government in this

 agreement (i.e., the United States Anomey's Office for the District of Idaho). The government

will bring the defendant's cooperation and pleas to the attention of other prosecuting authorities at

the request of the defendant or defense counsel.

        B.      Plea Agreement Acceptance Deadline. This plea offer is explicitly conditioned

on the defendant's notification of acceptance of this agreement no later than 4:00 p.m. on June 7,

2018.

        C.      Risk of Removal from the United States. The defendant recognizes that

pleading guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of crimes are

removable offenses, including the offense to which the defendant is pleading guilty. Removal

and other immigration consequences are the subject of a separate proceeding, however. While

arguments may be made in such a proceeding, it is virtually certain that defendant will be

removed from the United States. The defendant nevertheless affirms that the defendant wants to

plead guilty.

XII.    UNITED STATES' APPROVAL

        I have reviewed this matter and the agreement. This agreement constitutes a formal plea

offer from the government. Any oral discussions wi th the defendant and defense counsel about a

plea do not constitute a plea offer. Any written offer or agreement made before this agreement is




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 no longer a valid offer by the government and is rescinded. I agree on behalf of the United States

that the terms and conditions set forth above are appropriate and are in the best interests of justice.


BART M. DA VIS
UNITED STATES ATTORNEY




                                                              Date




XIII. ACCEPTANCE BY DEFENDANT AND COUNSEL

        I have read and carefully reviewed every part of this agreement with my attorney.

understand the agreement and its effect upon my potential sentence. Furthennore, I have

discussed all of my rights with my attorney and I understand those rights. No other promises or

inducements have been made to me, directly or indirectly, by any agent of the government,

including any Assistant United States Attorney, concerning the plea to be entered in this case.

understand that this agreement constitutes a fonnal plea offer from the government. Any oral

discussions between the government and me or my counsel about a plea do not constitute a plea

offer. Any written offer or agreement made before this agreement is no longer a valid offer by the

government and is rescinded. In addition, no one has threatened or coerced me to do, or to refrain

from doing, anything in connection with this case, including enter a guilty plea. I understand that,

if I am not a citizen or naturalized citizen of the United States, by pleading guilty in this case it is




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            virtually certain that I will be removed from the United States. I am satisfied with my attorney's

            advice and representation. in this case.




           /~-dr-C:::~
            DILLON KLAIR MCCANDLESS
                                                                          _top///%
                                                                         Da.tc
            Defendant

                   J have read this agreement and have discussed the coo.te.nts of the agreement with my

            client. The agreement accurately sets forth the entirety of the agreement. I have conveyed all

            written offers from. the government to the defendant pursuant to Missouri v. Frye, 132 S. Ct.

            1399, 1408~09 (2012). I understand. that this agreement constitutes a formal plea offer from the

            government. Any oral discussions between the government and. me or my client about a plea do

            not constitute a plea offer. Any written offer or agreement made before this agreement is no

            longer a valid offer by the government and is rescinded. I have discussed with my client the fact

            tbat if my client is not a citizen or naturalized citizen of the United States, by pleading gujlty in

            this case, it is virtually ccrtajn that my client wjJl be removed from the United States. I concur in

            my client's decision to plead guilty as set forth above.




          AvEN RICHERT                                                   Date
            Attorney for the defendant




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